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          EXHIBIT 15
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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                    EASTERN DIVISION

   CONSOLIDATED INDUSTRIES, LLC     )
   d/b/a WEATHER KING PORTABLE      )
   BUILDINGS,                       )
                                    )
         Plaintiff,                 )
                                    )                     Civil Action No. l:22-cv-01230
   v.                               )
                                    )
   JESSE A. MAUPIN, BARRY D.        )
   HARRELL, ADRIAN S. HARROD,       )
   LOGAN C. FEAGIN, STEPHANIE L.    )
   GILLESPIE, RYAN E. BROWN, DANIEL )
   J. HERSHBERGER, BRIAN L. LASSEN, )
   ALEYNA LASSEN, and AMERICAN      )
   BARN CO., LLC,                   )
                                    )
         Defendants.                )



     BARRY D. HARRELL'S FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFF’S
                     FIRST SET OF INTERROGATORIES

         Barry D. Harrell, by and through his attorneys, states the following First Supplemental

  Responses to Plaintiffs First set of Interrogatories.

                                        INTERROGATORIES

         3.      Identify each communication you have had with any person or entity (other than

  confidential communications solely with your legal counsel, your spouse, or your accountant)

  between January 1,2021, and through the day of the termination of your employment with Weather

  King (including but not limited to communications with lenders or potential lenders, investors or

  potential investors, business partners or potential business partners, Weather King employees,

  Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

  other Weather King business partners, rental companies, and Weather King customers) relating to


  70384199;!
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   the communication, was a Weather King dealer, driver, customer, lender, landlord, rental

   company, or other business partner relating to your potential departure from Weather King and,

   with respect to each such communication: (a) describe in detail the substance of the

   communication; (b) identify all parties to the communication; (c) identify the date of the

   communication; and (d) identify the mode of the communication (i.e., telephonic conversation,

   email, text message, etc.).

          SUPPLEMENTAL RESPONSE:

          Subject to and without waiving his objections, Harrell states that he had no such

   conversations.



          6.        Identify each person and/or entity with whom you have discussed funding, potential

   funding, or providing other financial support to or for any business enterprise in the Portable

   Business Industry since January 1, 2021, whether as an investor, a lender, or in any other capacity.

          SUPPLEMENTAL RESPONSE:

          Subject to and without waiving his previous objections, Harrell states that he had no such

  conversations.



          7.        Identify all then-current Weather King dealers to whom you suggested should

  demand a higher commission from Weather King, and with respect to each such dealer: (a) specify

  the date of the communication; (b) specify all parties to the communication; (c) specify the mode

  of the communication (i.e., telephonic or text); (d) set forth the substance of the communication;

  and (e) identify all documents relating to the communication.

          SUPPLEMENTAL RESPONSE:

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          Subject to and without waiving his previous objections, Harrell states that he had

   conversations verbally with the following dealers about the subject matter of this interrogatory:

   Triangle Bams and Okeechobee Storage Solutions.


    Date: May 10, 2023                                     /s/ Thomas G. Pasternak
                                                           Thomas G. Pasternak
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                                                            Attorneys for Defendant,
                                                            Barry D. Harrell




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  70384199;!
